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                     IN THE UNITED STATES DISTRICT COURT                             J l O3 2019
                         EASTERN DISTRICT OF ARKANSAS
                                                                                                 K, CLERK
UNITED STATES OF AMERICA                     )
                                             )
v.                                           )    4:19CR 00'3%1 Pf'M
                                             )
MONTARIALADARYL WESLEY                       )    18 U.S.C. § 1791(a)(2)

                            MISDEMEANOR INFORMATION

       THE UNITED STATES ATTORNEY CHARGES THAT:

                                         COUNT1

       On or about June 17, 2018, in the Eastern District of Arkansas, the defendant,

                            MONTARIALADARYL WESLEY,

being an inmate of a prison, namely, the Federal Correctional Complex in Forrest City,

Arkansas, did knowingly possess and obtain a prohibited object, to wit: a phone or other

device used by a user of a commercial mobile service, as defined by Title 47, United States

Code, Section 332(d), in connection with such service, in violation of Title 18, United States

Code, Section 1791(a)(2).

                                           CODY HILAND
                                           UNITED STATES ATTORNEY


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